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 3                UNITED STATES DISTRICT COURT W.D. OF WASHINGTON AT TACOMA
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 5       UNITED STATES OF AMERICA,
 6                                                                  Case No. CR05-5504FDB
                                 Plaintiff,
 7                                                                  INITIAL ORDER RE:
                          v.                                        ALLEGATIONS OF
 8                                                                  VIOLATION OF
         RICHARD DENNIS MILLER,                                     CONDITIONS OF BOND
 9                               Defendant.
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12          THIS MATTER comes on for an initial hearing on the Petition of the United States Pretrial
     Services Office alleging that the defendant has violated the conditions of supervision.
13              The plaintiff appears through Assistant United States Attorney, GREGORY GRUBER;
14              The defendant appears personally and represented by counsel, KEITH MACFIE;
15          The U.S. Pretrial Services Office has filed a petition alleging violations of the terms and
16   conditions of supervision, and the defendant has been advised of the allegation(s); the defendant having
     been advised of his rights admitted to violation (1)use of marijuana on or before September 8, 2005;
17   and the court granted the government’s motion to dismiss violation (2) failure to obtain an evaluation
     for substance abuse.
18              The court finds the defendant to have violated the conditions of his bond and revokes said bond
19   .
                IT IS ORDERED that the defendant:
20              ( ) Be released on an appearance bond, subject to the terms and conditions set forth thereon.
21              ( x ) Be detained for failing to show that he/she will not flee or pose a danger to any other person
22                   or the community pursuant to CrR 32.1(a)(1), and CrR 46(c), to be delivered as ordered by
                     the court for further proceedings.
23           The clerks shall direct copies of this order to counsel for the United States, to counsel for the
24   defendant, the United States Marshal and to the United States Probation Office and/or Pretrial Services
     Office.
25                                                           September 28, 2005.
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27                                                           _/s/ J. Kelley Arnold ______________
                                                             J. Kelley Arnold, U.S. Magistrate Judge
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     ORDER
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